    Case: 1:21-cv-05431 Document #: 17 Filed: 01/25/22 Page 1 of 3 PageID #:225




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

DARRYL BOWSKY, individually and on
behalf of all others similarly situated,
                                                    Case No. 21-CV-05431
                   Plaintiff,

       v.                                           Judge Charles R. Norgle

ELEKTA, INC. and NORTHWESTERN
MEMORIAL HEALTHCARE,

                   Defendants.


                           JOINT STIPULATION OF
                   VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       The Parties, Plaintiff Darryl Bowsky (“Plaintiff”) and Defendants Elekta, Inc. and

Northwestern Memorial HealthCare (collectively, “Defendants”), by and through their respective

undersigned counsel, and pursuant Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby

stipulate and agree to the following:

       1.      This action is to be voluntarily dismissed without prejudice, with each Party

bearing their own costs and attorney’s fees; and

       2.      Defendants consent to the jurisdiction of and venue in the United States District

Court for the Northern District of Georgia in any action brought by Plaintiff arising out of or in

connection with the April 2021 data security incident.
    Case: 1:21-cv-05431 Document #: 17 Filed: 01/25/22 Page 2 of 3 PageID #:226




DATE: January 25, 2022                 Respectfully submitted,

PLAINTIFF DARRYL BOWSKY                DEFENDANTS

By: /s/ Joseph M. Lyon                 By: /s/ Elizabeth B. Herrington

Joseph M. Lyon                         Elizabeth B. Herrington
The Lyon Firm                          Staci M. Holthus
22 West Ninth Street                   Morgan, Lewis & Bockius LLP
Cincinnati, OH 45202                   110 North Wacker Drive, Suite 2800
T: (513) 381-2333                      Chicago, IL 60606
jlyon@thelyonfirm.com                  T: (312) 324-1000
                                       F: (312) 324-1001
Daniel Zemans                          beth.herrington@morganlewis.com
Law Offices of Daniel Zemans, LLC      staci.holthus@morganlewis.com
2023 West Berteau Ave.
Chicago, IL 60618                      Counsel for Defendants Elekta, Inc. and
T: (773) 706-7767                      Northwestern Memorial HealthCare
dzemans@zemans-law.com

Counsel for Plaintiff Darryl Bowsky




                                        2
    Case: 1:21-cv-05431 Document #: 17 Filed: 01/25/22 Page 3 of 3 PageID #:227




                              CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2022, I caused a true and correct copy of the

foregoing to be electronically filed with the Court’s CM/ECF System and thereby served on all

counsel of record.



                                                  /s/ Elizabeth B. Herrington
                                                  Elizabeth B. Herrington




                                             3
